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     Attorneys for Respondent




                                IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON



     ALLEN T. REED,                                            Case No. 2:21-cv-01499-HZ

                       Petitioner,                             DECLARATION OF NICK M. KALLSTROM
                                                               IN SUPPORT OF MOTION FOR
                                                               EXTENSION OF TIME
              v.

     BRANDON KELLY,

                       Respondent.

              I, Nick M. Kallstrom, declare:

              1.       I am an attorney licensed to practice law in the State of Oregon and an Assistant

     Attorney General for the State of Oregon.

              2.       I am the assigned attorney representing respondent in the above-captioned case.

              3.       My office has worked to compile the record of the underlying state-court

     proceedings. However, more time is needed to review that record, research the issues presented,

     and prepare the response and answer. Obligations in other matters have prevented me from

     performing those tasks to date.

Page 1 -   DECLARATION OF NICK M. KALLSTROM IN SUPPORT OF MOTION FOR
           EXTENSION OF TIME
           NMK/la2/378903108
                                                       Department of Justice
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                   Case 2:21-cv-01499-HZ        Document 13             Filed 03/04/22   Page 2 of 3




              4.       A representative of this office verified that petitioner is a prisoner not represented

     by counsel in this matter. Pursuant to Local Rule 7-1(a)(1)(C), I did not confer with petitioner, a

     pro se inmate, about this motion.

              5.       This is respondent’s first request for an extension of time.

              6.       Therefore, respondent respectfully requests a 60-day extension of time, to and

     including May 6, 2022, within which to file the response and answer to petitioner’s petition for

     writ of habeas corpus.

              I declare under penalty of perjury that the foregoing is true and correct.
              EXECUTED on March 4 , 2022.


                                                                s/ Nick M. Kallstrom
                                                             NICK M. KALLSTROM
                                                             Assistant Attorney General




Page 2 -   DECLARATION OF NICK M. KALLSTROM IN SUPPORT OF MOTION FOR
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                                     CERTIFICATE OF SERVICE

             I certify that on March 4 , 2022, I served the foregoing DECLARATION OF NICK M.

     KALLSTROM IN SUPPORT OF MOTION FOR EXTENSION OF TIME upon the parties

     hereto by the method indicated below, and addressed to the following:

     Allen T. Reed                                             HAND DELIVERY
     SID # 10546594                                            MAIL DELIVERY
     Snake River Correctional Institution                      OVERNIGHT MAIL
     777 Stanton Blvd.                                         TELECOPY (FAX)
     Ontario, OR 97914-0595                                    E-MAIL
                                                             X E-SERVED PURSUANT TO
                                                               SRCI STANDING ORDER NO. 2019-9




                                                              s/ Nick M. Kallstrom
                                                          NICK M. KALLSTROM #050023
                                                          Assistant Attorney General
                                                          Trial Attorney
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Page 1 -   CERTIFICATE OF SERVICE
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